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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10   DEBORAH ANDERSON,                             Case No.: 2:18-CV-03759-SVW-RAO
11                Plaintiff,
                                                   JUDGMENT AFTER TRIAL BY
12           v.                                    COURT
13   EQUINOX HOLDINGS, INC., a Delaware
     corporation; EQUINOX FITNESS
14   GLENDALE, INC., a California
     corporation; EQUINOX FITNESS
15   IRVINE, INC., a California corporation;
     and DOES 1-50, inclusive,
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                  Defendants.
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 1                             JUDGMENT
 2            1.       The Court considered evidence in the case which was tried on October 9 and 10,
 3   2018.
 4            2.       Appearances at trial for Plaintiff Deborah Anderson was made by George Rikos
 5   and Noam Glick. Appearances at trial for Defendant Equinox Holdings, Inc. were made by
 6   attorneys Frank M. Liberatore and Kristel B. Haddad.
 7            3.       Judgment is entered by the Court as follows: For Defendant Equinox Holdings,
 8   Inc., a Delaware corporation, and against Plaintiff Deborah Anderson for the following causes
 9   of action: (1) Failure to Pay Wages; (2) Failure to Provide Meal Breaks; (3) Failure to Provide
10   Rest Breaks; (4) Failure to Provide Itemized Wage Statements; (5) Failure to Pay Wages
11   When Due; (6) Unfair Business Practices in Violation of Business and Professions Code
12   Sections 17200-17208; and (7) Failure to Indemnify pertaining to cellphone reimbursement.
13   For Plaintiff Deborah Anderson and against Defendant Equinox Holdings, Inc., a Delaware
14   corporation for the seventh (7) cause of action for Failure to Indemnify only as it pertains to
15   unreimbursed mileage in the amount of $353.54 with prejudgment interest at the rate of 10%
16   per annum simple interest in the amount of $130.84 through January 15, 2019.
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             January 18, 2019
     Dated: ________                            __________________________________________
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                                                       The Honorable Judge Stephen V. Wilson
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     4838-6280-0005, v. 3
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